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IN THE UNITEI) sTATEs DISTRICT CouRT F"-ED B`" ida D'C~
FoR THE wEsTERN DIsTRICT oF TENNESSEE
WESTERN DIVIsIoN 95 JUL "3 P"" : 59
theresa GOUID
in Re ACCREDo HEALTH, iNC. CLEF`, “§ §§ UYQM
sECURITIEs LiTIGATioN, Civii Action No.; 03_2216?3£‘;{§-_®‘ `
CLAss ACTIoN

 

This Document Relates to:

ALL ACTIONS

 

PROTECTIVE ORDER

 

1. PURPOSES AND LIMITATIONS

Disclosure and discovery activity in this action may involve production of confidential,
proprietary, or private information for which special protection from public disclosure and from use
for any purpose other than prosecuting this litigation would be warranted Accordingly, the parties
hereby stipulate to and petition the Court to enter the following Stipulated Protective Order. The
parties acknowledge that this Order does not confer blanket protections on all disclosures or
responses to discovery and that the protection it affords extends only to the limited information or
items that are entitled under the applicable legal principles to treatment as confidential

2. DEFINITIONS

2.] B§Qy: Any party to this action, including all of its officers, directors, employees,
consultants, and outside counsel (and their support staff).

2.2 Disclosure or Discoverv Material: All items or information, regardless of the medium
or manner generated, stored, or maintained (including, among other things, testimony1 transcripts, or
tangible things) that are produced or generated in disclosures or responses to discovery in this

matter.

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2.3 “Confidential” Information or Material: lnformation (regardless of how generated,
stored or maintained) or tangible things that qualify for protection under standards developed under
Fed. R. Civ. P. 26(c)(7) and that a Producing Party considers to constitute confidential, sensitive or
proprietary business information or documents, the disclosure of which might adversely affect a
Party’s competitive position, business operations, or economic interests or personal private
information

2.4 Receiving Party: A Party that receives Disclosure or Discovery Material from a
Producing Party.

2.5 Producing Party: A Party or non-party that produces Disclosure or Discovery
Material in this action.

2.6 Designating Party: A Party or non-party that designates information or items that it
produces in disclosures or in responses to discovery as “Confidential.”

2.7 Outside Counsel: Attorneys who are not employees of a Party but who are retained to
represent or advise a Party in this action.

2.8 House Counsel: Attorneys who are employees cfa Party.

2.9 Counsel (without qualifier): Outside Counsel and House Counsel (as well as their
support staffs).

2. l 0 M: A person with specialized knowledge or experience in a matter pertinent to
the litigation who has been retained by a Party or its counsel to serve as an expert witness or as a
consultant in this action. This definition includes a professional jury or trial consultant retained in

connection with this litigation

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2.11 Prcfessional Vendors: Persons or entities that provide litigation support services
(e.g., photocopying; videotaping; translating; preparing exhibits or demonstrations; organizing,
storing, retrieving data in any form or medium; etc.) and their employees and subcontractors

3. SCOPE

The protections conferred by this Stipulation and Order cover not only Confidential Material
(as defined above), but also any information copied or extracted therefrom, as well as copies,
excerpts, summaries, or compilations thereof, plus testimony, conversations, or presentations by
parties or counsel to or in court or in other settings that might reveal Contidential Material.

4. DURATION

Even after the termination of this litigation, the confidentiality obligations imposed by this
Order shall remain in effect until a Designating Party agrees otherwise in writing or a court order
otherwise directs.

5. NON-PARTIES

Any non-party from whom discovery is sought may be informed of and may obtain the
protection of this Order by sending written notice to counsel for the parties or by invoking this Order
on the record during any deposition or similar proceeding

6. DESIGNATING CONFIDENTIAL MATERIAL

6.l Exercise of Restraint and Care in Design ating Materi al for Protection; Each Party or
non-party that designates information or items for protection under this Order must take care to limit
any such designation to specific material that qualifies under the appropriate standards

lf it comes to a Party’s or a non-party’s attention that information or items that it designated
for protection do not qualify for protection, that Party or non-party must promptly notify all other

parties that it is withdrawing the mistaken designationl

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6.2 Manner and Timing of Designations: Except as otherwise provided in this Order
(see, e.g., second paragraph of section 5 .Z(a), below), or as otherwise stipulated or ordered, material
that qualifies for protection under this Order must be clearly so designated before the material is
disclosed or produced.

Designation in conformity with this Order requires:

(a) for information in documentary form (apart from transcripts of depositions or
other pretrial or trial proceedings), that the Producing Party affix the legend “CONFIDENTIAL” on
each page that contains protected material If only a portion or portions of the material qualifies for
protection, the Producing Party also must clearly identify the protected page(s), not the entire
document

A Party or non-party that makes original documents or materials available for
inspection need not designate them for protection until after the inspecting Party has indicated which
material it would like copied and produced During the inspection and before the designation, all of
the material made available for inspection shall be deemed “CONFIDENTIAL.” After the
inspecting Party has identified the documents it wants copies and produced, the Producing Party
must determine which documents, or portions thereof, qualify for protection under this Order, then,
before producing the specified documents, the Producing Party must affix the legend
“CONFIDENTIAL” on each page that contains Confidential Material.

(b) for testimony given in deposition or in other pretrial or trial proceedings, that
the Party or non-party offering or sponsoring the testimony identify on the record, before the close of
the deposition, hearing, or other proceeding, all protected testimony When it is impractical to
identify separately each portion of testimony that is entitled to protection, and when it appears that

substantial portions of the testimony may qualify for protection, the Party or non-party that sponsors,

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offers, or gives the testimony may invoke on the record (before the deposition or proceeding is
concluded) a right to have up to 30 days to identify the specific portions of the testimony as to which
protection is sought Only those portions of the testimony that are appropriately designated for
protection within the 30 days shall be covered by the provisions of this Stipulated Protective Order.

Transcript pages containing Confidential Material must be separately bound by the
court reporter, who must affix on each such page the legend “CONFIDENTIAL” as instructed by the
Party or non-party offering or sponsoring the witness or presenting the testimony

(c) for information produced in some form other than documentarv, and for any
other tangible items, that the Producing Party affix in a prominent place on the exterior of the
container or containers in which the information or item is stored the legend “CONFIDENTIAL.” If
only portions of the information or item warrant protection, the Producing Party, to the extent
practicable, shall identify the protected portions.

6.3 lnadvertent Failures to Designate: lf corrected within 30 days of production, an
inadvertent failure to designate qualified information or items as “Confidential” does not, standing
alone, waive the Designating Party’s right to secure protection under this Order for such material If
material is appropriately designated as “Confidential” after the material was initially produced, the
Receiving Party, on timely written notification of the designation, must make reasonable efforts to
assure that the material is treated in accordance with the provisions of this Order.

7. CHALLENGING CONFI_DENTIALITY DESIGNATIONS

7.1 Timing of Challen ges: Unless a prompt challenge to a Designating Party’s
confidentiality designation is necessary to avoid foreseeable substantial unfaimess, unnecessary
economic burdens, or a later significant disruption or delay of the litigation, a Party does not waive
its right to challenge a confidentiality designation by electing not to mount a challenge promptly

after the original designation is di sclosed.

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7.2 Meet and Confer: A Party that elects to initiate a challenge to a Designating Party’s
confidentiality designation must do so in good faith and must begin the process by conferring with
counsel for the Designating Party. ln conferring, the challenging Party must explain the basis for its
belief that the confidentiality designation was not proper and must give the Designating Party an
opportunity to review the designated material, to reconsider the circumstances, and, if no change in
designation is offered, to explain the basis for the chosen designation A challenging Party may
proceed to the next stage of the challenge process only if it has engaged in this meet and confer
process first.

7.3 Judicial lntervention; A Party that elects to press a challenge to a confidentiality
designation after considering the justification offered by the Designating Party may file and serve a
motion that identifies that challenged material and sets forth the basis for the challenge Each such
motion must be accompanied by a competent declaration that affirms that the movant has complied
with the meet and confer requirements imposed in the preceding paragraph and that sets forth with
Specificity the justification for the confidentiality designation that was given by the Designating
Party in the meet and confer dialogue

There is a rebuttable presumption that the burden of persuasion in any such challenge
proceeding shall be on the Designating Party. Until the Court rules on the challenge, all parties shall
continue to afford the material in question the level of protection to which it is entitled under the
Producing Party’s designation

8. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

8.1 Basic Principles: A Receiving Party may use Confidential Material that is disclosed
or produced by another Party or by a non-party in connection with this case only for prosecuting,
defending, or attempting to settle this litigation Such Protected Material may be disclosed only to

the categories of persons under the conditions described in this Order. When the litigation has been

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terminated, a Receiving Party must comply with the provisions of section 12 below, (FfNAL
DISPOSITION).
Confidential Material must be stored and maintained by a Receiving Party at a location and
in a secure manner that ensures that access is limited to the persons authorized under this Order.
8.2 Disclosure of “CONFIDENTIAL” lnforination or Items: Unless otherwise ordered
by the Court or permitted in writing by the Designating Party, a Receiving Party may disclose any
information or item designated CONFIDENTIAL only to:

(a) the Parties’ attorneys in this action, as well as employees and agents of said
attorneys to whom it is reasonably necessary to disclose the information for this litigation;

(b) the officers, directors and employees of any Party to whom disclosure is
reasonably necessary for this litigation;

(c) experts (as defined in this Order) of the Receiving Party to whom disclosure is
reasonably necessary for this litigation and who have signed the “Agreement to Be Bound by
Protective Order” (Exhibit A) (Counsel of record to whom Confidential lnformation is produced
Shall keep in their files the originals of all signed Nondisclosure Agreements);

(d) the Court and its personnel;

(e) court reporters, their staffs and professional vendors to whom disclosure is
reasonably necessary for this litigation;

(f) any person from whom noticed testimony is taken in this case;

(g) any person who a Party’s attorney believes is a potential witness in this case
subject to the condition that no information or item designated CONFIDENTIAL shall be left in the

custody of any potential witness who has not signed the ‘“Agreement to Be Bound by Protective

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Order” (Exhibit A) (Counsel of record to whom Confidential lnformation is produced shall keep in
their files the originals of all signed Nondisclosure Agreenients);

(h) the author or recipient of the documents or the original source of the
information; and

(i) any person whom counsel for the parties agree should have access to such
materials and who agrees to be bound by the terms of this Order.

9. CONFIDENTIAL MATERIAL SUBPOENAED OR ORDERED
PRODUCED IN OTHER LITIGATION

lf a Receiving Party is served with a subpoena or an order issued in other litigation that
would compel disclosure of any information or items designated in this action as
“CONFIDENTIAL,” the Receiving Party must so notify the Designating Party, in writing
immediately and in no event more than three court days after receiving the subpoena or order. Such
information must include a copy of the subpoena or court order.

The Receiving Party also must immediately inform in writing the Party who caused the
subpoena or order to issue in the other litigation that some or all the material covered by the
subpoena or order is the subject of this Protective Order. In addition, the Receiving Party must
deliver a copy of this Stipulated Protective Order promptly to the Party in the other action that
caused the subpoena or order to issue.

The purpose of imposing these duties is to alert the interested parties to the existence of this
Protective Order and to afford the Designating Party in this case an opportunity to try to protect its
confidentiality interests in the court from which the subpoena or order issued. The Designating
Party shall bear the burdens and the expenses of seeking protection in that court of its confidential
material - and nothing in these provisions should be construed as authorizing or encouraging a

Receiving Party in this action to disobey a lawful directive from another court.

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l{l. INFORMATION PROTECTED BY THE HEALTH INSURANCE
PORTABILITY AND ACCOUNTABILITY ACT

Nothing in this Order shall be read to require the production of confidential patient or
medical information as defined by the Health Insurance Portability and Accountability Act. A
Producing Party shall, as applicable, redact confidential patient or medical information and so note
on the responsive document or on an appropriate redaction log.

ll. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

lf a Receivin g Party learns that, by inadvertence or otherwise, it has disclosed Confidential
Material to any person or in any circumstance not authorized under this Stipulated Protective Order,
the Receiving Party must immediately (a) notify in writing the Desi gnatin g Party of the unauthorized
disclosures, (b) use its best efforts to retrieve all copies of the Confidential Material, (c) inform the
person or persons to whom unauthorized disclosures were made of all the terms of this Order, and
(d) request such person or persons to execute the “Acknowledgment and Agreement to Be Bound”
that is attached hereto as Exhibit A.

12. Fl LING CONFIDENTIAL MATERIAL

All documents, including but not limited to, transcripts of depositions, exhibits, produced
documents, answers to interrogatories or portions thereof, and requests for admissions or portions
thereof, whether originals or copies, which are filed With the Court, which have been designated by a
Party as Confidential Material, shall be filed in a sealed envelope or other appropriately sealed
container on which shall be endorsed the title of the action, an indication of the nature of the contents
of such sealed or other container, the word “CONFIDENTIAL” and a statement substantially in the

following form:

THlS ENVELOPE CONTAINS DOCUMENTS WHICH ARE FILED IN THIS
CASE BY [NAME OF PARTY] AND IS NOT TO BE OPENED NOR THE
CONTENTS TO BE DISPLAYED OR REVEALED EXCEPT BY ORDER OF
THE COURT.

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13. FINAL DISPOSlTION

Within sixty (60) days after a judgment in or dismissal or other resolution of this Action
becomes final and non-appealable, the attorneys for each Party who received Confidential Material
shall (a) return to the Producing Party all copies of Confidential Material produced by such person;
or (b) destroy all documents containing or based upon Confidential Material (including all copies`);
and (c) provide a certification of compliance with this paragraph. Counsel for the parties may,
however, retain court papers, deposition, hearing and trial transcripts and attorney work product
(includin g Confidential Material that is referred to or attached to any attorney work product), but any
Confidential Material contained in such materials may not be disclosed to any person not a
Designated Person.

14. MISCELLANEOUS

14.1 Right to Further Relief: Nothing in this Order abridges the right of any person to seek
its modification by the Court in the future.

14.2 Right to Assert Other Obiections: By stipulating to the entry of this Protective Order
no Party waives any right it otherwise would have to object to disclosing or producing any
information or item on any ground not addressed in this Stipulated Protective Order. Similarly, no
Party waives any right to object on any ground to use in evidence of any of the material covered by
this Protective Order.

14.3 This Order applies to all proceedings in this action other than trial Confidentiality
rules covering the trial of this action that can be agreed upon by the parties will be set forth in a
consolidated pretrial order to be drafted by the parties and submitted to the Court.

l4.4 Nothing herein shall be construed to be an admission of relevance or to affect, in any

way, the admissibility of documents, testimony or other evidence in this action

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14.5 This Order has no effect upon, and its scope shall not extend to, any party’s use of its
own Confidential lnformation.

14.6 Nothing in this Order shall prevent the parties fi‘om agreeing to amend this Order, nor
shall it prevent any party from moving for an amendment to this Order either during or after the
conclusion of this action, nor shall it prejudice in any way the rights of a party to apply to the Court
for any additional protection with respect to the confidentiality of documents or information that the
party may consider appropriate.

14.7 Nothing in this Order shall prevent a party or non-party who has designated material
as Confidential lnformation from agreeing to release any of the Confidential lnformation from the
requirements of this Order.

IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD

DATED: July ;f , 2005 GLASSMAN, EDWARDS, WADE
& WYATT, P.C.

Byr //;///UM

BS'F. wide (#5132)

26 North Second Street
Memphis, TN 38103

(90]) 527-4673

Li'ar`son Counselfor Plaintr_`fj%

William S. Lerach, Esq.

Mark Solomon, Esq.

Tor Gronborg, Esq.

Erin P. McDaniel, Esq.

Trig R. Smith, Esq.

LERACl-I, COUGHLIN, STOIA,
GELLER, RUDMAN & ROBBINS, LLP

401 B Street, Suite 1700

San Diego, CA 92]01

George E. Barrett, Esq.

Douglas S. Johnson, Jr., Esq.
Timothy L. Miles, Esq.

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DATED: July 7/ ,2005

PURSUANT TO STIPULATIO

DATE 1

TH ONORABL ' BERNICE B. DONALD
TED STATES DISTRICT JUDGE

BARRETT, JOHNSON & PARSLEY
217 Second Avenue North
Nashvill_e, TN 37201-1601

Timothy O. DeLange, Esq.

Blair A. Nicholas, Esq.

Richard N. Rodelli, Esq.

BERSTEIN, LITOWITZ, BERGER
& GROSSMAN, LLP

12544 High Bluff Drive, Suite 150

San Diego, CA 92130

Co-Leau' Counsel for Pltrr`nfi]jfr

BURCH, PORTER & .IOHNSON, PLLC

,.... 4. ,_* / 7 n
Byr/@¢?Lefénnccl23/€%@@4?
Jef Feibelman, Esq/ M /{ /{{
DOuglas F. Halijan, Esq_
130 North Court Avenutf‘// "”’""/ f ’ “1,/
Memphis, TN 38103
(901) 524-5000

ALSTON & BIRD, LLP

""/"au @&M-Z %M

PeterQ. Bassett, Esq/ 09 //§\ A;J

JohnH. Goselin, 11 Esq. 5 l
mel/x
Oni A. Holley, Esq '

1201 West Peachtree Street
Atlanta, GA 30309-3424

Aftorneyfor Deferzdants

 

 

 

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EXHIBIT A

ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

l, [print or type t`ull name], of

 

 

[prinl or type full address], declare under penalty of perjury that I have read in its entirety and
understand the Stipulated Protective Order that was issued by the United States District Court for the
Western District of Tennessee on _ [date] in the case of fn re Accredo Healrh, Inc.
Securz`ties Lz`rz`gcxfr`on, No. 03-2216-BP. I agree to comply with and to be bound by all the terms of
this Stipulated Protective Order and l understand and acknowledge that failure to so comply could
expose me to sanctions and punishment in the nature ofcontempt. 1 solemnly promise that I will not
disclose in any manner any information or item that is subject to this Stipulated Protective Order to
any person or entity except in strict compliance with the provisions of this Order.

1 further agree to submit to the jurisdiction of the United States District Court for the Western
District ofTennesSee for the purpose of enforcing the terms of this Stipulated Protective Order, even
if such enforcement proceedings occur after termination of this action.

Date:

City and State where sworn and signed:

 

Printed name:

 

Signature:

 

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Notice of Distribution

This notice confirms a copy ot` the document docketed as number 145 in
case 2:03-CV-02216 was distributed by faX, mail, or direct printing on
July 11, 2005 to the parties listed.

 

 

David W. Mitchell

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS LLP
401 B St

Ste 1600

San Diego7 CA 92101

Nadeem Faruqi

FARUQI & FARUQI7 LLP
320 East 39th St.

New York7 NY 10016

Gregory M. Egleston

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

New York7 NY 10016

Marc A. Topaz

SCH[FFRIN & BARROWAY
3 Bala Plaza East

Ste. 400

Bala Cynwyd7 PA 19004

Carol V. Gilden

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, 1L 60606--161

Kevin Hunter Sharp
PRESTON & SHARP7 P.C.
216 19th Ave.,N.
Nashville, TN 37203

Tor Gronborg

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
401 B St.

Ste. 1700

San Diego7 CA 92101

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.l ames E. Gauch

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

John H. Goselin
ALSTON & BIRD

1201 West Peachtree St.
Atlanta, GA 30309--342

Douglas F. Halijan

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Samuel H. Rudman

LERACH COUGHLIN STOIA GELLER RUDMAN & ROBBINS, LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

Javier Bleichmar

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York7 NY 10019

Fred Taylor lsquith

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

New York7 NY 10016

Timotny A. DeLange

BERSTEINE LITOWITZ BERGER & GROSSMAN
12544 High Bluff Drive

Ste 150

San Diego7 CA 92130

Eitan Misulovin

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York7 NY 10019

Martin D. Chitwood

CHITWOOD HARLEY & HARNES LLP
1230 Peachtree St., N.E.

2900 Promenade 11

Atlanta, GA 30309

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Trig R. Smith

LERACH COUGHLIN STOIA GELLER RUDMAN &
401 13 St.

Ste. 1700

San Diego7 CA 92101

Peter Q. 13assett
ALSTON & 131RD

1201 West Peachtree St.
Atlanta, GA 30309--342

George E. 13arrett

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Saul C Saul C. Belz
GLANKLER BROWN
One Commerce Sq.
Ste. 1700

1\/1emphis7 TN 38103

David A. Thorpe

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Gary K. Smith

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/1emphis7 TN 38103

Mark Solomon

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Oni A. Holley
ALSTON & 131RD

1201 West Peachtree St.
Atlanta, GA 30309--342

David A. Rosenfeld

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
200 Broadhollow Rd.

Ste. 406

Melville, NY 11747

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Ronald 13. Hauben
ERNST & YOUNG

5 Times Square
New York7 NY 10036--653

Stanley 1\/1 Chernau

CHERNAU, CHAFFIN & BURNSED
One American Center

3100 West End Ave

Ste 550

Nashville, TN 37203

Dixie W. lshee

WOOD CARLTON & ISHEE
1407 Union Ave.

Ste. 71 1

1\/1emphis7 TN 38103

William S. Lerach

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Quitman Robins Ledyard
BOROD & KRAMER
80 Monroe Ave.

Ste. G-1

1\/1emphis7 TN 38103

Nancy Kaboolian
A1313EY GARDY, LLP
212 East 39th St.

New York7 NY 10016

Erin P. McDaniel

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Robert M. Roseman

SPECTOR ROSEMAN & KODROFF, P.C.
1818 Market St.

Ste. 2500

Philadelphia, PA 19103

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Timothy L. Miles

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Linda F 13urnsed

CHERNAU, CHAFFIN & BURNSED
One American Center

3100 West End Ave

Ste 550

Nashville, TN 37203

Karen M. Hanson

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/1inneapolis7 MN 55401

Lauren S. Antonino
CHITWOOD & HARLEY
1230 Peachtree St., N.E.
2900 Promenade 11
Atlanta, GA 30309

Jef Feibelman

13URCH PORTER & JOHNSON
130 N. Court Avenue

1\/1emphis7 TN 38103

Emily C. Komlossy

GOODKIND LABATON RUDOFF & SUCHAROW
3595 Sheidan St.

Ste. 206

Hollywood, FL 33021

Richard A. Lockridge

LOCKR]DGE GRINDAL NAUEN7 PLLP
100 Washington Ave., South

Ste. 2200

1\/1inneapolis7 MN 55401

Douglas 1\/1 McKeige

BERNSTEIN LITOWITZ BERGER & GROSSMAN
1285 Ave of the Americas

38th Floor

New York7 NY 10019

Case 2:03-cv-O2216-BBD-gbc Document 145 Filed 07/08/05 Page 19 of 21

Richard Nicholas Rodelli

BERNSTEIN LITOWITZ BERGER & GROSSMAN
12544 High 131uff Dr

Ste 150

San Diego7 CA 92130

Gregory M. Nespole

WOLF HALDENS TEIN ADLER FREEMAN & HERZ LLP
270 Madison Ave.

New York7 NY 10016

Darren J Robbins

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Michael E. Mosl<ovitz

MUCH SHELIST FREED DENENBERG Al\/[ENT & RUBENSTEIN, P.C.
191 N. Wacker Dr.

Ste. 1800

Chicago, 1L 60606--161

Ramzi Abadou

LERACH COUGHLIN STOIA GELLER RUDMAN & RO13131NS7 LLP
401 13 St.

Ste. 1700

San Diego7 CA 92101

Douglas S. Johnston

BARRETT JOHNSTON & PARSLEY
217 Second Avenue North

Nashville, TN 37201--160

Steven J. 13rogan

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Mary-Helen Perry

JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Paul Kent l3ramlett
BRAMLETT LAW OFFICES
P.O.130X 150734

Nashville, TN 37215--073

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13. J. Wade

GLASSMAN EDWARDS WADE & WYATT, P.C.
26 N. Second Street

1\/1emphis7 TN 38103

Marc S. Henzel

LAW OFFICES OF MARC S. HENZEL
273 Montgomery Ave.

Ste. 202

13ala Cynwyd7 PA 19004

F. Guthrie Castle

CASTLE & ASSOCIATES
6555 Quince Rd.

Ste. 109

1\/1emphis7 TN 38119

Amy E Amy E. Ferguson
GLANKER BROWN
One Commerce Square
Seventeenth Floor
1\/1emphis7 TN 38103

Shpetim Ademi

ADEM1 & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 W1 53110

Guri Ademi

ADEM1 & O'REILLY, LLP
3620 East Layton Ave.
Cudahy7 W1 53110

Karen M. Campbell

GARY K. SMITH & ASSOCIATES, PLLC.
100 Peabody Place

Ste. 1050

1\/1emphis7 TN 38103

Heather Guilette Walser
JONES & DAY

51 Louisiana Avenue, N.W.
Washington, DC 20001--21 1

Mark C. Gardy
A1313EY GARDY, LLP
212 East 39th St.

New York7 NY 10016

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Mel E. Lifshitz

BERNSTEIN LIEBHARD & LIFSH[TZ, LLP
10 East 40th Street

New York7 NY 10016

Honorable 13ernice Donald
US DISTRlCT COURT

